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cc*d 01/16/2018: JMS,RLP,PSA 0RI6IMAL
        I9WF0RW RCV.0I/2ODS


                                                                                                                          RLED IN THE
         Quintln-John D'Agirfaaud, III                                                                          UNITED STATES DISTRICT COURT
                                                                                                                       OIPTR'CT OF HAWAII
        Name and Pnsonur/ijookinj! Number              A0265488
         Halawa Correcticyal Facility
        Place ofConrinctncni
                                                                                                                          JAN 1 2 2018         r0j
         99-902 Moanaliia Road                                                                                  at   ^■3'o'clock
                                                                                                                          C and ^ min.      P M.
        Mailing Address                                                                                                SUE BEITIA, CLERK
         Mea, HI 96701
        City, Slate, Zip Code



                                                              UNITED STATES DISTRICT COURT
                                                               FOR THE DISTRICT OF HAWAII

         Quintin-Jcdin D'Agixbaud, HI
                                                                                 cascNo. CV18 onoaijyS RLP
        (Full Kams of Piaimi/T)                                                          (To be supplied b>' the Clerk)


                                VS.                                              PRISONER CIVIL RIGHTS COMPLAINT
         Sarah Alanzo, Dovie Poises, Nolan                                       JURY   TRIAL         DEMANDED


         Espinda^ Scx3tt Harrington, Shari                                       El Original Compiainl
                                                                                 n First Amended Complaint
         Kimoto, Teresa Miike, Itianas Evans,                                    O Second Amended Complaint
             B. Omellas, State of Hawai'i
       (Full Names of Dcfendanis. DO NOT USE et a!.)


                                                                    A. JURISDICTION

        1. Jurisdiction is invoked pursuant to:

                  a. S 28 U.S.C. § 1343(aX3) ; 42 U.S.C. § 1983
                  b. □ 28 U.S.C. § 1331; Bivcns v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
                  c. □ Other: (Please Specify)

       2 Plaintiff-              QuJj»tin-John D'Agirbaud, III                      iSfA0265488
             Institution/city where violation occurred:                            « Waiawa Ctarrectional Facilities, Haiolulu, HI
       3. First Defendant *:                           Sarah Alanzo

       This defendant is a citizen of (state and county) Hawai'i                                            Hoiolulu
       and is employed as:
         Case (Onager                                                      Halawa Correctional Facility
                                                                      at
                                (Position and Title)                                            (Institution)
       This defendant is sued in Ipo^er X individual X official capacity (clicck one or both). Explain how

                                                                             1
    Copy senfn:
                                                       Dale
    N»tos:
         Cppymatlod to Mr. D'Aglrbaud
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 this defeijdant vi/^sacting und^ color oflaw Shared ocnQitetdal info witii                  gang leader         about
                 I im agxBsc ms gang uuiLbiLe.              ItiLiberalriy pOaced ny life In dmga:ly dioutiiig I m
"rdlL ingf' oi her iniBtES. tfeds tiroahs tp vg.tttold ny nlaFFnfirHlim, Ifer actioB lesultBd an ne Jbedng
vioLaitly aRRFnlted and hoqataliaed ly a gang menfaar.

4. Second Defendant:               Dovie Borges

This defendant is a citizen of(state and county) Hawai'i
    Honolulu                             and is employed as:

    Residaitial Adnainistrator                               Halawa Oorrectlonal Facility
                  (Position and Title)                                            (Institution)

This defendant is sued inlife/her _5[_ individual _2C_ official capacity(check one or both). Explain how
this defendant was acting under color oflaw: vitaobB daieening              to ny dngLdies and infiaasd it is ny
cMi j^iLt thai I vos set-ip tmiFP dmatBS dxi't liJe to te saooaod ne.       lade cf atpipdabe articn
hept nB nriied in the sysfasm and 9a± ne tp a CT rrisrn in ATHTrTB. This iiesipt^lttoyactimcn her
part hyai-B I proi«3 her vamg in valdzig cn ituLHplp oocassicns and I vas grieving ny Lu=uUitiiL.


5. Third Defendant:                       Esplnda

 This defendant is a citizen of(state and county) Hawai'i
  Honolulu                     ,and is employed as:
    Director of Public Safety                              State of Hawai'i
                  (Position and Title)                                            (Institution)

This defendant is sued in his^ggr X individual X official capacity (check one or both). Explain how
this defendant was acting under color oflaw: IteEiBad to                         ny <iiirufiiK          vidlait gaig nHiiipryt
beang hoLsad with im-vin1fnt, im-cpng iniBhes.         His inacbiai iBsultBd in inprting ny ptogLess through
thp gyRhan ty gpridingprFi tr» a fTR pn'gm in ftriTrm utiPna t tor cdnric irr       irmttig, ma ir5?im
also csiFfd ne to be violently asRHiiltBd and ho^taliTed ty a gang maifaa:.
(If you would like to name additional defendants, majce a copy ofthis(blank)page and provide the necessaiy information.)

*        A defendant may be named in an individual or official capacity, or both. To sue a defendant in their individual
capacity, you must be able to state facts showing that the defendant was actual!v involved in violating your rights. A suit
against a defendant in their official capacity is in reality a suit against the office or position the defendant holds. Only
injunctive relief is available in an official capacity suit against a state official. This is because the Eleventh Amendment
confers immunity upon the state or its officials against monetary damages resulting from federal court litigation.
          "Cblor oflaw" refers to whether the person is a private party or an employee, official, or agent ofa state, county,
city, or the federal government. There can be no civil rights action under § 1983 unless the defendant was "acting under color
oflaw." After the color of law requirement is met,then it must be determined in which capacity the defendant is being sued.


** SEE ADDITIONAL PAGES FOR DEEENDANTS **
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6.   Fourth Defendant: Stoott Harrington. This defendant is a citizen of Hawai'i,
     Honolulu, and is employed as: Acting Warden at Halawa C3orrectional Facility.    This
     defendant is sued in his individual and official capacity.    Explain how this
     defendant was acting under color of the law:    He answered my second step grievance
     and denied it stating that it was against CLOSED CUSTODY inmates' civil rights to
     have them segregated from the rest of the population due to their custody level.
     He stated, "Your best bet is to take care of your own business and leave the custody,
     care and monitoring of inmates to the Coirrectional Staff." His lack of appropriate
     action resulted in me being violently assaulted and hospitalized by a gang member.


7.   Fifth Defendant: Shari Kimoto.    This defendant is a citizen of Hawai'i, Honolulu,
     and is employed as: Acting Instituticxis Divisicai Atininistrator at Department of
     Public Safety. This defendant is sued in her individual and official capacity.
     Explain how this defendant was acting under color of the law: Shari Kimoto, as the
     final and ultimate recourse within the administrative ronedy process, called ray
     grievances moot and agreed that if I did my own time quietly, minded iry own business,
     then I wouldn't be in this predicament. She miscalculated my classification points.
     Her inaction caused me to be violently assaulted by a gang member, loss of advancment
     to work furlough, and sent me to a CXA prison in Arizona as retalition for me taking
     a stand against PSD.


8.   Sixth Defendant: Teresa Miike. This defendant is a citizen of Hawai'i, Honolulu,
     and is employed as: Administrator at Waiawa Gorrecticaial Facility.   This defendant
     is sued in her individual and    official capacity.   Explain how this defendant was
     acting under color of the law: On May 21, 2017 she did not respond to       letters
     and requests about ny fears of being set-up by other inmates due to me pressing
     criminal charges against an USO gang member for physically assaulting me.    She gave
     me extra points on my classification to ensure that I go over the +8 which restricted
     me from returning to a minimum facility for 6+ months.    Her lack of appropriate
     action caused me to be set-up by other inmates and/or WCF staff who flood the prison
     with illegal drugs.    It also resulted in me being transferred to a C3CA prison in
     Arizona and stopped roe from progressing to work furlough.

                        **    SEE ADDinCWAL PAGE FOR DEFEHDANTS **




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9.   Seventh Defendant: Ttanas Evans. This defendant is a citizen of Hawai'i, Honolulu,
     and is enployed as: Chief of Security at Waiawa Correctional Facility. This defendant
     is sued in his individual and official capacity. Explain how this defendant was
     acting under the color of law: He did not respond to itiy letters or requests about ray
     fears of being set-up by inmates due to rae pressing charges against an USO gang
     member for assaulting me. His lack of appropriate action caused me to be set-up by
     other inmates and/or WCP staff who flood the prison with illegal drugs. He did not
     have pictures or toxicology reports of the supposed "substance" found, all which
     caused me to be transferred to a CCA prison in Arizona and stopped me from moving
     forward through the work furlough program.


10. Eighth Defendant: S. Qmellas. This defendant is a citizen of Hawai'i, Honolulu,
     and is employed as: Acting Warden at Waiawa Oorrecticml Facility. This defendant
     is sued in his individual and official capacity. Explain how this defendant was
     acting under the color of law: He refused to respond to my letters or requests
     about my fears of being set-up by inmates due to me pressing charges against an USO
     gang member for assaulting me.   He refused to follow the PSD policy in the refund
     of inmates commissary to the store for a refund when inmate is sent to segregation.
     He turns a blind eye to his staff trafficing drugs through the facility.    His
     lack of appropriate actions resulted in me being transferred to a CCA prison in
     Arizona, loss of over $150.00 from conmissary, and me being denied forward progress
     to the work furlough program.




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                                           B. PREVIOUS LAWSUITS


 1. Have you brought any other lawsuits while a prisoner:               tX Yes         □ No
                                                On3
 2. If your answer is yes, how many?:                           Describe the lawsuit in the spaces below.

 3- First previous lawsuit:

   a     Plaintiff        Quintin-John D'Agliisaud, in
         Defendants State of Hawai'i - Departmait of Public Safety

   b.    Court and Case Number (if federal court, identify the district; if state court, identify the
         county):
                     First Circuit Court of Hawai i                 No. 16-1-0454-03


   c.    Claims raised:        Sexual Assault by Staff

   d.    Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending?)
                             Folding


   e.    Approximate date of filing lawsuit          March 2016

   f.    Approximate date of disposition             April 2018
 4. Second previous lawsuit:

   a.    Plaintiff


         Defendants


   b.    Court and Case Number (if federal court, identify the district; if state court, identify the
         county):


   0.    Claims raised:


   d.    Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending?)


   e.    Approximate date of filing lawsuit

   f.    Approximate date of disposition
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5. Third previous lawsuit:

     a.   Plaintiff


          Defendants

     b. Court and Case Number(iffederal court, identify the district; ifstate sourt, identify the
          county):


     c.   Claims raised:

     d. Disposition (For example: Was the case dismissed? Was it appealed? Is it still pending?)



     e.   Approximate date offiling lawsuit

     f.   Approximate date of disposition

(If you have filed more than three lawsuits, make a copy ofthis(blank) page and provide the necessary information.)

6.        Have you filed any actions in federal court that were dismissed because they were frivolous,
          malicious, or failed to state a claim upon which reliefcould be granted?    Yes x No.

          If you have had three or more previous federal actions dismissed for any ofthe reasons
          stated above, you may not bring another civil action in forma pauperis unless you are under
          imminent danger ofserious physical injury. See 28 U.S.C.§ 1915(g).
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                                        C. CAUSE OF ACTION

                                                COUNTI


 1. The following constitutional or other federal civil right has been violated by the Defendant(s):

 KTfiHTH AMHNDMEOT - Ereveation of violencje & assaults                        other inmates.


2. Count I involves:(Check only one; if your claim involves more than one issue, each issue should be
    stated in a different count)      EHMail         IZl Access to the court     EHMedical care
CU Disciplinary proceedings           dProperty CH Exercise ofreligion           EHRetaliation
n Excessive force by an officer       (^Threat to safety CHother:
3. Supporting Facts:(State as briefly as possible the FACTS supporting Count I, without citing legal
authority or arguments. Describe exactly what each Defendant did or did not do to violate your rights^
 On July 211 2016 I wrote a letter to PSD Director, Nolan Espinda, regarding CLOSED
 CUSTODY, violent, gang menibers being housed with non-violent, non-gang, medium and
 and minimum custody inmates. This letter was never answered. On February 20, 2017,
 I placed a separtee against inmate Brian Aquino, an USO gang menber who made physical
 and verbal threats of violence towaards me. Case Manager, Sarah Alanzo, then informed
 USO gang leader inmate "Levu" tJiat I placed a separtee on Aquino and that I had
 multiple separtees against other USO gang members. On March 17, 2017, Alanzo called
 me down and started veiling at the top of her voice that, "you better stop ratting
 on inmates in here. I'm the one doing your transfer packet, do you want it to take
 longer?" I immediately reported this incident to UIM Keone Morreria and RSA Dovie
 Borges. On March 18, 2017 I was physically assaulted by another USO gang member,
 Joel Pitts v^o was also CLOSED CUSTODY. This assault was witnessed by an AGO.
 On April 8, 2017 I was assaulted yet again by another CLOSED CUSTODY, USO gang
 member, Gaius Awong whan was acting on instructions given by USO gang leader "Levu".
 I was hospitalized and suffered a broken index finger, a broken nose, fractured
 orbit around mv right eve and damaged my vertebrae in my upper spine. All steps of
 my grievances were denied by staff members; Borges, Harrington, and Kimoto. They
 upheld their erroneous policy of housing violent CLOSED CUSTODY gang members with
 the general population. This is injust for inmates who are trying to go hone and
 have lower custody levels.           I have all supporting documents for review.



4.    Injury:(State how you have been injured by Defendant(s)' actions or inactions.
 I suffer^ major gJiysical injury as well as psychological damage vdiere I was
 diagnosed having PTSD due to the mutiple assaults upon my person.                         The injuries
 are permanant and I will have to go through physical and psychological the&py
 for as long as I live. No person, inmate or otherwise, should have to be
 subjected to that type of violence without prison administration attempting to
 rem^y their faulty classification and housing system.
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                                                 COUNT n

  1.      The following constitutional or other federal civil right has been violated by the Defendant(s):

        EIGHTH AMENDMENT - CRUEL & UNUSUAL PUNISHMENT



 2. Count n involves:(Check only one; if your claim involves more than one issue, each issue should
  be stated in a different count)  dlMail         IZI Access to the court  OMedical care
 CU Disciplinary proceedings            CHProperty     Q Exercise ofreligion      ^Retaliation
 D Excessive force by an officer        DThreat to safety      Dother:
 3. Supporting Facts:(State as briefly as possible the FACTS supporting Count II, without citing legal
 authority or arguments. Describe exactly what each Defendant did or did not do to violate your rights.)
 On April 4, 2017, I wrote to Unit Manager Keone Morreira informing him of t!ase
 Manager Sarah Alanzo's personal vendetta towards me. She refused to initiate ray
 reclassification and subsequent transfer packet. On April 5, 2017, inmate Gaius
 Awong, a CLOSED CUSTODY, USO gang member who was just released from segregation
 for assaulting an inmate in another module and Sarah Alanzo, out of retaliation had
 inmate Awona placed in my cfuad vdiere I was working as the quad floorboy. Sarah
 Alanzo did this because I had to write to her superiors on several occassions about
 her conduct towards me. When I asked her about iry reclass she told me, "you're not
 going to place my inmates where you want, I will place them where I want." Her re-
 mark had nothing to do with what I was inquiring. Less than four days later, on
 April 8, 2017, I was violently assaulted by inmate Gaius Awong. Prior to tnis
 assault I had informed PSD Administration on several occassions about being housed
 with CLOSED CUSTODY, violent, gang members. I was told in no uncertain terms to
 mind mv own business. On Octobers, 2017 RSA Dovie Borges wrote me a letter to my
 inquiry about being set-up by gang inmates, she inferred it was my own fault and
 condoned the actions of these inmates by writing; "Part of the reason that you may
 be labeled as a "rat" is the overt way you tell on about every other inmate s
 wrongdoing- For that reason, other inmates do not want to be around you. Had you
 not been so obvious, this might not have happened to you. When you can just mind
  your own hn.«=tiness and do your own time, everything will settle down for you." Due
 to the fact that I was grieving multiple issues PSD, out of retaliation, sent me to
 i-hp CTA prison in Arizona to hinder me access to courts and legal needs.

"i                                                                                           collusion with
the USO gang. I was displaced and not allowed to move forward in the system and to go
to work furlough where I had employment waiting for me. Administration uses scare
tactics and blames me for being preemptive by reporting potential Jiarm to avoia the very
thing that happened to me. I was brought back from OCA on October 1, 2013 and new 4
years later, because I am grieving the gross injustices I've sutterea perpetuated by
PSD, they sent me back to OCA Arizona out of retaliation, where the very inmates who
assaulted me are located.
                                                      6
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                                                         COUNT III

  1.      . The following constitutional or other federal civil right has been violated by the Defendant(s):

      FOURTEENTH AMEM^IENT - DUE PROCESS



 2. Count III involves:(Check only one; if your claim involves more than one issue, each issue should
      be stated in a different count)         DMail             □ Access to the court          DMedical care
  m Disciplinaiy proceedings                  □ Property        □ Exercise of religion         DRetaliation
  n Excessive force by an officer             ClThreat to safety         EUother:
 3. Supporting Facts: (State as briefly as possible the FACTS supporting Count III, without citing legal
 authority or arguments. Describe exactly what each Defendant did or did not do to violate your rights.I
On lyiay 19, 2017 I was transferred to the Waiawa Correctional Facility.                                           On May 122 , 2017
I wrote to Adminstrator, Teresa Miike informing her of my recent assault at Halawa. I
wanted to be assured that I would not be assaulted again or set-up oy other inmates who
were looking to retaliate against me for pressing charges against USO gang member, Gaius
Awong. She never responded.      May 26, 2017 I informed    case manager, uristy, that
they put Dean Kokobun right next to me who just came from HCF telling everyone that I'm
a rat and that I'm going to "get it". Nothing was done. On July 17, 2017 I wrote a
letter to COS Thomas Evans again expressing ir^ concerns about being set-up by inmates.
I asked to be moved from my section and away trom tnese inmates, jno response given.
On July 27, 2017 I was called from work at the farm and placed in segregation. Inmates
placed something in my locker and sent a "kite" telling start where to find it in my
locker. I was given a urinalysis test with all negative results. The investigating
sergeant used me by telling me he knows that I was%t-up and for me to give him all the
names of the inmates doing the drugs and how it was being distributed across the facility.
I thought he was on ray side and was helping me because my fears of being set-up came to
fruition. However, I was found guilty. i was not given my right to examine any and all
written material concerning my charges as it stated on the Notice of Hearing that I
sicmed. I was told I could ask for all the written material after I was found guilty.
Shari Kimoto stated that "formal rules of evidence does not apply to misconduct hearings",
thus leaving me without any defense, although I sought help from staff on numerous
occassions because I knew other inmates were planning something. I did not know exactly
what thev planned to do to execute their retaliation against me.
                                                                    Oontinued on Page 7-1                                )
 4.        Injury: (State how you have been injured by Defendant(sy actions or inactions.
A false drug writ-up is placed in my jacket as if I'm some big time prison drug dealer.
I was sent back to Halawa and then to OCA Arizona, hindering me from moving rorward
through the svstem to go to work furlough. Administration used scare tiactics and blames
me for reporting issues to them to avoid tdie very tiling tnat happened to me. "PSD
Administuration is lax and used me as the scapegoat to get the information they wanted.
 (If you assert more than three Counts, make a copy of this (blank) page and provide the necessary information.)
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CX)UNr III GC»JTINUED:

Supporting facts: It is prevalent throughout Waiawa Correctional Facility of
inmates and staff setting up inmates they do not like to protect their illegal
drug ring and protect the staff that are bringing in the drugs. The WCF
Administration is not competent in keeping their staff from flooding the facility
with drugs and uses the erroneous disciplinary process to hide behind. When I
grieved this issue the WZF warden refused to answer ir^ grievance which violates
my right for administrative review through the grievance process. On the final
step of the process, Shari Kimoto answered using language such as "doing      time
quietly and minding my own business" which has nothing to do with what I was
grieving. I feel threatened by herstatanents and fear further retalitory tactics
from staff for filing a legal complaint.




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                                                           COUNT IV


     1.      The following constitutional or other federal civil right has been violated by the Defendant(s):


          FOCKTH amendment - Prohibitian of Unreasonable Search & Seizure


     2. Count IV involves:(Check only one; if your claim involves more than one issue, each issue should
      be stated in a different count)            CUMail          [H Access to the court IZlMedical care
     n Disciplinary proceedings                  OProperty IH Exercise ofreligion ClRetaliation
     n Excessive force by an officer             ClTIireat to safety   [^Other:^^^^^ ^ locker Searches
    3. Supporting Facts:(State as briefly as possible the FACTS supporting Count TJ without citing legal
    authority or arguments. Describe exactly what each Defendant did or did not do to violate your rights.)
    On July 26, 2017 approx. 2030 hrs, A<X)*s searched my Icxdcer and belongings vdiile
    I was at education. Ihe reason for this search was because an inmate was high on
    drugs and staff was searching for drugs. On July 21, 2017 approx. 0645 Mrs, less
    than 12 hours since the prior search,again without me being present and I am told
    that a "brown leafy substance" was "found" in my locker, on that morning I was
    called back from my work assignment at the Farm to building 9A where I found my
    locker open and all     belonging scattered. During normal locker searches the AGO
    asks the inmate to cane to their living space and to open their own locker. The
    inmate is then present the entire time that his locker and belongings are being
    searched. Not only was I not present for either search, when I asked to see vhat
    they claimed was foiand I was refused. I was hancuffed and sent to segregation.. The
    reason for this search was a "kite" sent to st:aff st:ating that I'm "sealing
    spice and pot. Check under tray in locker." When I grieved this issue the WCF
    warden refused to answer my grievance. I asked for a toxicology report as well
    as pictures of this "brown leafy substiance". There was no toxicology report nor
    any photos with the reports and discovery. Shari Kimoto stiated that "formal rules
    of evidence does not apply". So if st:aff says it was there then it was there.
    This violates my right of being present during the search as well as my right to
    see exactly what was seized and how they determined what this substance was. I've
    never done an illegal drug in my life inside or outside of prison which my crimes
    and my prison file reflect. i conveyed to staff on multiple occassions my fears of
    being set up by inmates and nothing was done to help me. I was basically told
    to keep my mouth shut and mind my own business.
    4.    Injury:(State how you have been injured by Defendant(sV actions or inactions.
    A false drug writup was placed in           file as if I m seme big time prison drug
    dealer.       I was sent back to Halawa ana tnen t:o a CCA in Arizona where it was
    difficult for me to get my paperwork from grievances and stialled me fron moving
    forward through the system for a minimum of 6+ months. Adminlsturation protects
    their staff who are flooding the prison with drugs by using scapegoats like me.
     (If you assert more than three Counts, make a copy ofthis(blank) page and provide tlie necessary information.)



                                                              7-A
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                                            C. CAUSE OF ACTION

                                                    COUNT      V


     1. The following constitutional or other federal civil right has been violated by the Defendant(s):


                       3 AMENDMENT - DUE fBOCBSS


     2. Count V iivolves:(Check only one; if your claim involves more than one issue, each issue should be
         stated in a different count)     OMail          D Access to the court      DMedical care
     n Disciplinary proceedings           dProperty CU Exercise ofreligion CHRetaliation
     D Excessive force by an officer      (ZlThreat to safety Sotlier: CLASSIETCATIOJ HROCEDDRES
     3. Supporting Facts:(State as briefly as possible the FACTS supporting Count V without citing legal
    authority or arguments. Describe exactly what each Defendant did or did not do to vipkte your riglits.)
   On February 14, 2017, I received a letter from RSA Dovie Borges telling me tnaz'
       "reclassification numbers are inaccnirate". She does not know how to do class-
   ifications and I proved t:hat she was incorrect, un August 23, 2017, Teresa Miike
   OSSA, reclqssed me due to the "drug" misconduct. She gave me 2 points stating I
   was terminated from ir^ job which was not true. On the reclass instrument tor
    question i^ll it states. "Refuised or Terminated from job or program". I completed my
    required program, "Lifestiles", and I was doind an excellent job at my work assign-
    ment and I was never terminated from work nor ^d I receive any paperwork stating
    I was terminated with reason why, Miike says I was terminated frcan the job because
    I left the facility. Question #11 refers directly for being terminated from one's
    job/program as a sanction. Further points are given in that category if your mis
    conduct was work related. At the very least I should have received -1 point for
    ccxnpleting my program or 0 points for waiting for a new job. Miike gave me +2
    points to ensure that I go over the +8 points and below that I needed to immediately
    return to Waiawa. By giving me +2 points put me over the eligibility oy +i point
    for a total of +9 points*. This was done intentionally so I would not return to
    WCF for 6+ months. In my grievance answer, dated Novennber 21, 201/, snari Kimoco
    statedf "you have +9 points with or wothout the +2 points frcxn being terminated
    from the workline". If the +2 points were not given I would have +7 points making
    me minjiinTni custody. Further, when inmates leave a facility where they are working
                                                          Oontinued on Page 7-B1                           )

     4.    Injury:(State how you have been injured by Defendant(s)' actions or inactions.
    Due to Miike and Kimoto giving different results for my classification, I suffered
    by being brought back to Halawa and tdien to the CTA prison in Arizona. I was denied
    the opportxjnity to move forward in the system and on to work furlough.




                                                      7-B
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 CDUNT   V   GDNTINUED:

 Si^^^qpcsrting facts: they are not terminated from their jobs and they do not receive
 +2 points on their classification. PSD is manipulating the point process to
 suit their own needs, instead of following ploicy. I know the reclassification
 system by heart because I like to be aware what Administration is doing when it
 comes to my classification and     transfer. Both the IDA and RSA gave misinforitiation
 in writing about my classification. If those in PSD Administration who oversee
 front line staff, do not know how their own system works then how do they expect
 their front line staff to do it correctly? Mismanagement and lack of training is
 prevalent here.




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                                                    COtJNT      VI


     1.      The following constitutional or other federal civil right has been violated by the Defendant(s):


            FOURTEENTH AMENDMENT - DUE PROCESS

     2. Countvr involves:(Check only one; if your claim involves more than one issue, each issue should
      be stated in a different count)      CUMail          CD Access to the court    CDMedical care
     CD Disciplinary proceedings           Sproperty       CD Exercise ofreligion    CDRetaliation
     CD Excessive force by an officer      CDHireat to safety     CDother:
     3. Supporting Facts:(State as briefly as possible the FACTS supporting Count VL without citing legal
     authority or arguments. Describe exactly what each Defendant'did or did not do to violate your rights.)
     On July 26, 2017 approx. 1030 hrs. I signed for a $130.00 store order at Waiawa
     Correctional Facility. On July 27, 2017 apprex. 0630 hrs. I was sent to the WCF
     segregation for a misconduct investigation. AGO Tuvale listed all of my store
     order on the proper property receipts. I asked him to have all of    store order
     returned to the coninisary for a refxand and to have money placed back in rry
     spendable account in accordance with PSD policy. He said he was not sure if he
     could do that, and asked me to write down an address to send any of my "excess"
     property out. On 7/28/17 I was sent to Halawa Correctional Facility and was
     propmptly placed in segregation where I remained until 9/6/17. On 7/28/17 I wrote
    a letter to HCF Warden Harrington, asking to have iiy store order transferred to
    HCF for a refund. On 8/1/17, RSA Dovie Borges wrote, "Regarding your property,
     you need to submit an inter-unit request via your case manager & unit manager
    regarding transferring." On 7/28/17 I also wrote a grievance asking that my store
    order be returned, refunded and my account credited. On 8/1/17 I submitted a
    State Tort Claim under §HRS Chapter 662. On 11/28/17 the State Accounting Office
    declined my claim stating through false info given by PSD that; ^1 "You were
    transferred to HCF prior to being placed in segregation." and §2 "According to
    the department, store orders cannot be transferred between facilities."
    PSD policy of the Personal Property of Inmates according to Cor 17.02.7 Transfers
    to Segreqaticm (b). Store Orders - The store ordears of an irenati* trangfcT-nP<^ tr>
    segregatlcxi ^lall be protected in (2) ways: 1.) Return all unused items to the
    uumiiissary and credit the inmates aooount acoordiiigly".
                                                                     Continued on Page 7-Cn              )
     4.      Injury:(State how you have been injured by Defendant(s)' actions or inactions.
     I lost out in #130.00 of store order aM another $150.00 of property. The
    WCF Administxation did not acknowledge ny resolutions on my grievances and
    lied to tdie State Accounting Office during their investigation. I would like
    $280.00 refunded to my spendable account for                     losses.




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ocxJNT VI cmrmiQD:


Supporting Facts:
PSD's policy for the store order of inmates sent to segregation, is not considered
"property" per se. This policy was created to stop the consistent theft of inmates*
store order by staff and inmates, who are sent to segregation and they have no
control over the "bagging" of their personal belongings. ALL the State prisons in
Hawai'i facilities receive, pack and deliver store orders from H^awa Correctional
Facility, this includes: Waiawa Correctional Facility, Oahu Coiirnunity Correctional
Center, Wcxnen's Community Correctional Center as well as Halawa Correctional Facility.
In order to follow the PSD policy, no matter what facility the inmate is housed, the
store order must be returned to the commissary at HCF and refunded to the inmates
account. Not only was my store order not refunded, it wasn't sent to the address on
the Excess Property Notice that I signed as an alternative. Therefore, PSD-Waiawa
stole $130.00 of new store order items as well as $150.00 of excess property, and
danced around their own policy to make it seem as if I am misinterpreting its meaning
and PSD lied to the State Fiscal Office in its investigation.




                                         7-a
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                                              D. REQUEST FOR RELIEF

    State briefly exactly what you want the Court to do for you. Make no legal arguments. Cite no cases or statutes.
    Plaintiff prays for judToent against the iDefendants for damages in excess of
    the minimum jurisdictional limits to be decided upon by a jury as follows:
    1. Plaintiff is currently "ccmnunity custody" and would like to be iiunediately
    placed in the Laumaka Work Furlou^ Program without retaliation by the State or
    its inmates; 2. Mandatory Injunction that PSD Hawai'i ceases to house CLOSED
    CIJgKX)Y, VIOISNF, GANG MEMBERS with Medium & Minimum custoc^ inmates; 3. Punituve
    and Exemplary damages; 4. General damages for Plaintiff's past, present and future
    physical, medical and psychological injuries according to proof; 5. Special
    damages for Plaintiff's past, present and future e3q)enses and other ecDnoinic
    losses according to proof; 6. FOr pre-judgment interest Plaintiff's cost of suit,
    attorney's fees; and 7. Etxr such other relief as the jury and this court deems
    just and proper.




             I understand that a false statement or answer to any question in this complaint will subject me to
     penalties of perjury. I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE
     UNITED STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT.^28
     U.S.C. § 1746 and 18 U.S.C. §1621.

     Signed this 5th day of           January               ^ 2018
                                            (month)




                              ignature of




                                                 ADDITIONAL PAGES


     All questions must be answered concisely in the proper space on the form. If needed, you may attach no
     more than fifteen (15)additional pages. Number tliese pages in relation to the final page number of the
     section that is being extended (i.e. additional defendants' pages should be numbered "2X,2B, etc.,"
     additional previous lawsuits' pages "4A,4B, etc.," additional claims should be numbered "7A, 7B, etc."
     This form, however, must be completely filled in to the extent applicable.
